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 5                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF WASHINGTON
 6

 7       MOLLY MOON’S HOMEMADE ICE
         CREAM LLC,                                         Case No.
 8
                                     Plaintiff,             COMPLAINT
 9
                v.                                          JURY DEMAND
10

11       CITY OF SEATTLE,
                                     Defendant.
12

13

14            Plaintiff, Molly Moon’s Handmade Ice Cream, LLC (“Molly Moon’s”) hereby alleges as

15   follows:

16                                            I.      OVERVIEW

17            1.      The rights of free speech and to peaceably assemble are enshrined in our

18   constitutional tradition. Plaintiff supports free-speech rights and the efforts of organizations such

19   as Black Lives Matter who, by exercising such rights, are bringing issues such as systemic racism

20   and unfair violence against African Americans by police to the forefront of the national

21   consciousness. Specifically, Plaintiff supports the free-speech rights of many of those who

22   gathered on Capitol Hill to form what has been called “CHAZ,” standing for the “Capitol Hill

23   Autonomous Zone,” or “CHOP,” meaning the “Capitol Hill Organized Protest” or “Capitol Hill

24   Occupying Protest.”1

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     1
      This complaint primarily refers to the area as “CHOP,” and the people who participated in CHOP who are not
26   businesses, employees, or residents of the area as “CHOP participants.”


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 1           2.     This lawsuit does not seek to undermine CHOP participants’ message or present a

 2   counter message. Rather, this lawsuit is about Plaintiff’s constitutional and other legal rights of

 3   which were overrun by the City of Seattle’s decision to abandon and close off an entire city

 4   neighborhood, leaving it unchecked by the police, unserved by fire and emergency health services,

 5   and inaccessible to the public at large, and then materially support and encourage a hostile

 6   occupation of that neighborhood. The City’s decision subjected businesses, employees, and

 7   residents of that neighborhood to extensive property damage, public safety dangers, and an

 8   inability to use and access their properties.

 9           3.     On June 8, 2020, the City abruptly deserted the Seattle Police Department’s East

10   Precinct on the corner of Twelfth Avenue and E. Pine Street in Seattle’s Capitol Hill neighborhood,

11   leaving behind numerous barriers that had previously been used as a line between police and

12   protesters.

13           4.     When the City abandoned the precinct and the nearby barriers, a number of

14   individuals who had been in the area took control of the barriers and used them to block off streets

15   in an area around the East Precinct.

16           5.     In the days and weeks after the City abandoned the East Precinct, CHOP

17   participants occupied the public streets, sidewalks, and parks in the area at all hours of the day and
18   night. Rather than seeking to restore order and protect the residents and property owners within

19   CHOP, the City instead chose to actively endorse, enable, and participate in the occupation of

20   CHOP.

21           6.     The City provided Cal Anderson Park, a public park located at the center of CHOP,

22   for use as the staging ground supporting CHOP’s occupation of the surrounding area. Supported

23   by the City, countless CHOP participants resided in the park at all times of the day and night,

24   having turned it into a tent city. At any given time, hundreds of CHOP participants camped out in

25   the park. Violence, vandalism, excessive noise, public drug use, and other crimes were rampant

26   within the park, which is directly across the street from Plaintiff’s storefront.

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 1          7.      The City’s conduct resulted in CHOP being blocked off from public access. Among

 2   other conduct detailed below, the City provided the participants with concrete barriers to use to

 3   block the streets, which CHOP participants used to barricade the streets and create borders. These

 4   borders, at times, were guarded by armed CHOP participants who oversaw who could or could not

 5   enter CHOP. As a result, the streets were barred to almost all vehicular traffic, making it virtually

 6   impossible for residents and businesses to access their buildings, receive deliveries, and provide

 7   goods and services to the few customers willing to enter CHOP.

 8          8.      The City’s conduct also resulted in the elimination of basic public safety within

 9   CHOP and nearby areas. For example, the City enacted a policy under which police would not

10   enter the CHOP area except during “mass casualties,” and, even in those situations, the response

11   was, at best, muted and late. After a fatal shooting in the early morning of June 20, 2020, for

12   example, officers did not even approach the area of the shooting until approximately twenty

13   minutes after the shooting, and no professional medical response was available. At other times,

14   even during life-and-death emergencies, the police acquiesced to demands from CHOP

15   participants that they abandon the area. The City acknowledged the serious safety issues it created,

16   in particular noting that there were “dangerous conditions” at night, but the City nonetheless chose

17   to maintain its policy of providing resources and support to the CHOP occupiers.
18          9.      The City’s conduct enabled the widespread destruction and vandalism of private

19   property. Graffiti was pervasive throughout the area—on barriers, streets, sidewalks, and nearly

20   every private building within CHOP. Graffiti that was painted over almost immediately returned,

21   and property owners were told by CHOP participants that if they dared to paint over graffiti, their

22   buildings would be more severely vandalized or even burned to the ground. The City did nothing

23   to prevent this conduct but instead actively endorsed and supported the ongoing occupation of the

24   CHOP area and the destruction of property that accompanied it. As a result, property owners and

25   their tenants were not able to fully use their properties. Property owners and tenants, for instance,

26   had to lock and barricade their garages and loading areas at risk of having CHOP participants

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 1   entering and vandalizing them.

 2          10.       The property owners, businesses, and residents in the area suffered ever-increasing

 3   property damage and economic loss every day that CHOP existed in their neighborhood, all

 4   because of the City’s active support, encouragement, and endorsement of the occupation. In

 5   particular, Seattle Mayor Jenny Durkan provided the CHOP participants with not just tangible

 6   resources but also a de facto stamp of approval. Her tweets, interviews, and other statements made

 7   it clear that the City was fully aware of what was happening, had no plan or timeline for remedying

 8   the ongoing harm, and in fact viewed the occupation of Capitol Hill as something akin to a

 9   perpetual block party, which the City wanted to support because of the viewpoints of CHOP

10   participants.

11          11.       Other businesses in the Capitol Hill neighborhood pleaded with City

12   representatives to cease enabling the destruction of its business and the imminent dangers posed

13   in the neighborhood but no action was taken to clear out CHOP until July 1, 2020.

14          12.       However, even after CHOP was officially “disbanded” on July 1, 2020, the

15   ramifications of the City’s actions continued to harm Plaintiff and the rest of the neighborhood.

16   Through December 2020, despite a technical closure of Cal Anderson Park and the removal of

17   most barriers in the streets and sidewalks, the City allowed Cal Anderson Park to remain occupied
18   by a large encampment of protesters and homeless people, with the majority taking up residency

19   across the street from Plaintiff’s business. This was a de facto continuation of the City’s CHOP

20   policies that directly impacted Plaintiff.

21          13.       Again, this case is not about Plaintiff’s agreement or disagreement with the

22   inspiration for CHOP, or the viewpoints expressed by the people occupying that area. Instead, it

23   is about the City’s active, knowing endorsement and support of a destructive occupation of a

24   neighborhood to the detriment of the well-being of those who live and work in that neighborhood.

25                                            II.     PARTIES

26          14.       Plaintiff is a Washington limited liability company doing business as Molly Moon’s

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 1   Homemade Ice Cream. Molly Moon’s operates numerous retail ice cream shops in Seattle and

 2   Bellevue, including a shop located at 917 E. Pine St. in Seattle, directly across the street from Cal

 3   Anderson Park.

 4          15.     Defendant is the City of Seattle (“the City”), a municipality incorporated in the

 5   State of Washington. The Seattle Police Department (“SPD”) is a division of the City.

 6                                III.   JURISDICTION AND VENUE

 7          16.     This Court has subject-matter jurisdiction over this case under 28 U.S.C. § 1331

 8   because this action presents federal questions and seeks to redress deprivations of rights under the

 9   United States Constitution pursuant to 42 U.S.C. § 1983.

10          17.     Venue is proper in this district under 28 U.S.C. § 1391(e)(1) because the events

11   giving rise to these claims occurred in the Western District of Washington.

12                                 IV.     FACTUAL ALLEGATIONS

13          A.      The Creation of CHOP

14          18.     On June 8, 2020, with protests ongoing near the East Precinct, the City emptied the

15   East Precinct of all weapons and valuables, and then abandoned it.

16          19.     The City left behind at the precinct and in the surrounding areas large barriers that

17   had been used in previous days to try to limit the movements of protesters.
18          20.     Predictably, almost immediately after the SPD abandoned the precinct and the

19   barriers, CHOP participants used the barriers to block off streets in the area and create a “no-cop”

20   zone. Initially, the blocked-off area extended to all streets within one block from the precinct.

21          21.     Without any police presence, the CHOP participants organized themselves,

22   declared the area “Free Capitol Hill,” and stationed guards by the barriers that the City had

23   abandoned, thereby creating borders for the occupied area. The area later expanded, was referred

24   to as “CHAZ” for several days, and eventually became known as “CHOP.”

25          22.     CHOP’s unofficial boundaries stretched north to East Denny Way, east to 13th

26   Avenue, south to East Pike Street, and west to Broadway. It encompassed the entirety of Cal

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 1   Anderson Park and sixteen city blocks in all. Molly Moon’s Capitol Hill store is located within

 2   this area.

 3           B.     The Activities of CHOP Participants

 4           23.    After the SPD vacated Capitol Hill, the CHOP participants claimed the area as their

 5   own with a physical presence and a loose form of governance and justice.

 6           24.    CHOP participants have maintained borders with barriers and people patrolling the

 7   perimeter, as well as vehicles parked in the middle of rights-of-way.

 8           25.    Many CHOP participants lived on the streets and sidewalks and in Cal Anderson

 9   Park, in tents such as the following:

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18           26.    They painted graffiti on most available surfaces, and if a property owner painted

19   over the graffiti, the graffiti was typically replaced within a few hours. CHOP participants even

20   threatened business owners with retaliation if they painted over graffiti. Examples of this pervasive

21   graffiti include the following:

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 1           27.        CHOP participants created various unpermitted, ad hoc food dispensaries and

 2   stores on public property in front of and near private residences and businesses.

 3           28.        CHOP participants created a “medical tent” at the Rancho Bravo restaurant under

 4   a festival tent.

 5           29.        On occasion, CHOP participants acted as a replacement police force, including by

 6   demanding that business owners release individuals who were caught committing crimes and by

 7   attempting to perform their own crime investigations.

 8           30.        CHOP participants occupied the streets and sidewalks twenty-four hours a day, and

 9   had speeches, debates, movies, music, and various other activities—including, in some instances,

10   illegal fireworks shows—on the streets and sidewalks. Disturbances and noise pollution extended

11   well past 10 p.m. and typically into the early morning of the next day.

12           31.        CHOP participants were observed carrying guns in the public streets and parks in

13   broad daylight.

14           32.        Cal Anderson Park was one of the focal points of CHOP. The approximately seven-

15   acre park, located directly across the street from Plaintiff, was ostensibly owned by the City, but

16   was entirely handed over to the CHOP participants. The City supported and enabled CHOP’s

17   occupation of the park through providing washing/sanitation facilities, portable toilets, nighttime
18   lighting, and other material support.

19           33.        As a result of the City’s actions, Cal Anderson Park was transformed into a massive

20   tent city for CHOP participants, as shown here.

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 9          34.     Members of the public could not use Cal Anderson Park. CHOP’s control of the

10   park continued unabated until July 1, 2020, when it was temporarily cleared. Local residents

11   attempting to take pictures too close to Cal Anderson Park were threatened by CHOP participants,

12   who have said they would steal their smartphones.

13          35.     CHOP participants even built makeshift gardens on the park’s lawn to grow food

14   for CHOP. The City handed over public property in the park for this use, as shown here:

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22          36.     The gardens remain in Cal Anderson Park, despite having been built in violation of

23   City laws, and (on information and belief) have not received the approval to remain a permanent

24   fixture as required pursuant to Cal Anderson Park’s historic designations.

25          37.     Although Cal Anderson Park was officially cleared and closed to the public on July

26   1, 2020, the City almost immediately allowed the park to be reoccupied without any consequences

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 1   for those occupying it, until the encampment was once again removed in December 2020. The

 2   post–July 1 encampment was smaller but at least as troublesome for Plaintiff as CHOP, given its

 3   close proximity Plaintiff’s front door, with a clear sight line to Plaintiff’s business.

 4          38.     The post–July 1 encampment included tents that were set up in the supposedly

 5   closed Cal Anderson Park for what was indicated as “ANTIFA outreach,” which entailed handing

 6   out free food, beverages, and clothing to those encamped in the park.

 7          39.     Cal Anderson Park’s occupation was a central nuisance and key source of damage

 8   for Plaintiff. The various occupations of the park created excessive noise, even late into the night,

 9   in violation of the City’s ordinances. Occupants set off fireworks at all hours of the day and night.

10   Trash, feces, and other refuse built up in the park, affecting the whole area. Worst of all, Cal

11   Anderson Park was one of the most violent areas of CHOP and remained violent and dangerous

12   throughout 2020.

13          C.      The Effects of CHOP and the Subsequent Occupation

14                  1.      Lack of public-safety assistance even in life-threatening
                            circumstances.
15

16          40.     The City’s endorsement and recognition of CHOP went so far that the SPD adopted

17   a policy and practice of not entering an area it called “the Red Zone” except in the case of what
18   the police called a “mass casualty event (e.g., active shooter, structural fire likely to endanger

19   human lives, etc.).” The Red Zone encompassed all of CHOP and included Plaintiff’s location

20   from its official adoption on June 12, 2020 until the morning of July 1, 2020, although the policy

21   was de facto in place as of the night of June 8, 2020.

22          41.     Under this policy, felonies that did not endanger significant numbers of lives, such

23   as rape, kidnapping, and assaults not involving weapons, were deemed unworthy of an in-person

24   response. Anyone wishing to report such a crime would have to leave the area that the SPD felt

25   was too dangerous to send its officers into.

26          42.     And under the policy, even when the SPD was faced with a “mass casualty event”

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 1   inside the Red Zone, they did not respond directly; instead, the policy required officers to gather

 2   outside the Red Zone for strategic planning before responding to murders or structural fires.

 3          43.     The SPD additionally declared as part of the Red-Zone policy that in the wider area

 4   known as the Edward Sector (which roughly correlates to the entire Capitol Hill neighborhood)

 5   even the most minor crimes would require four officers to be available to respond, even if it would

 6   normally require only one.

 7          44.     This predictably had an immediate impact on the neighborhood by both increasing

 8   response times and the likelihood that crimes would be committed and unreported. As then–SPD

 9   Chief Carmen Best explained on June 11, 2020, as she stood next to then-Mayor Durkan:

10                  SPD has a responsibility to provide public safety services to the
                    entire East precinct and the City. The actions of a small group cannot
11
                    and should not deprive an entire segment of our community from
12                  public-safety services. In the first day of the SPD not having access
                    to the precinct, response times for crimes in progress were over
13                  fifteen minutes, about three times as long as the average . . . . If that
                    is your mother, or your sister, your cousin, your neighbor’s kid that
14                  is being raped, robbed, assaulted, and otherwise victimized, you’re
15                  not going to want to have to report that it took the police three times
                    longer to get there to provide services to them. The difference in the
16                  amount of time could protect someone’s life and prevent a violent
                    attack.
17
18          45.     Actual events demonstrate that, if anything, Chief Best was being conservative in

19   her description of the public-safety emergency in CHOP.

20          46.     At approximately 2:20 a.m. on June 20, 2020, there were two people shot in CHOP.

21   At least one of the shootings happened at or near the intersection of Tenth Avenue and Pine Street,

22   around the corner from the abandoned East Precinct. One of the victims died before reaching the

23   hospital. The second was admitted with life-threatening injuries.

24          47.     Raw video streamed from the area shortly after that shooting demonstrates the

25   enormity of the risk created by the City for anyone who lives or works in CHOP. That video

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 1   clearly captured the following:2

 2                      a.    The video appears to start a couple of minutes after the shooting.

 3                      b.    One shooting victim was taken to the CHOP “medic tent” located in a

 4            parking lot under a festival tent.

 5                      c.    No professional medics arrived to tend to the first shooting victim despite

 6            being in the area and seeing what was going on. The first victim was transferred by private

 7            vehicle to Harborview Medical Center and died.

 8                      d.    No police were in the area until approximately eighteen minutes into the

 9            video, when cars and lights can be seen several blocks away, and police can be heard on

10            megaphones demanding that barriers be moved to allow the police to enter.

11                      e.    Approximately nineteen minutes into the video, a small phalanx of

12            approximately eight police officers entered the area on foot and arrived in the area of the

13            medical tent, apparently for the purpose of trying to locate and extract the first shooting

14            victim.

15                      f.    The phalanx of officers was immediately surrounded, yelled at, and pursued

16            by CHOP participants.

17                      g.    One police car finally entered the area approximately twenty minutes into
18            the video.

19                      h.    The police did not engage with the crowd and promptly left the area, after

20            which CHOP participants created a human chain across the street to bar any further entry.

21                      i.    There was a second shooting victim in CHOP located a couple of blocks

22            away. It appears that no medics or police responded at all to the location of the second

23            victim.

24                      j.    Approximately thirty-five minutes into the livestream video, the second

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         https://www.facebook.com/WWConverge/videos/297548387941384/?v=297548387941384


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 1         victim was placed into a plain white cargo van and presumably taken to the hospital. A voice

 2         can be heard explaining that Medic One drove by but did not come to the assistance of the

 3         person who ended up in the white van.

 4                  k.      Shortly after the second victim was driven away, private citizens began

 5         looking for bullet casings. No police were on the scene to perform any investigation in the

 6         immediate aftermath of the shooting.

 7          48.     Later on the morning of June 20, 2020, Mayor Durkan called this shooting

 8   “foreseeable and avoidable” in an email to Chief Best and Fire Chief Harold Scoggins.

 9          49.     On June 21, 2020, another shooting occurred in the area at approximately 11:00 at

10   night. There was no police or medic response, and the shooting victim was transported to the

11   emergency room by private vehicle.

12          50.     In a press conference with Mayor Durkan on June 22, 2020, Chief Best reiterated

13   the seriousness of the public-safety situation, stating:

14                  there are countless individuals who are in the CHOP that are there
                    to engage, as the Mayor said earlier, in peaceful demonstrations. But
15
                    there are also groups of individuals engaging in shootings, a rape,
16                  assaults, burglary, arson, and property destruction, and I have their
                    police reports right here. [*Holding up a stack of papers*] I’m not
17                  making it up. These things have happened. We cannot walk away
                    from the truth of what is happening there. This is not about politics
18                  and I’m not a politician. This isn’t a debate about First Amendment
19                  rights. This is about life or death. So we need a plan.

20          51.     After June 20, there were shootings in and around CHOP nightly or nearly nightly,

21   many of which police and fire did not respond to in person. One of these was in the early hours of

22   June 29, at 12th and Pike, and left a sixteen-year-old dead and a fourteen-year-old in critical

23   condition.

24          52.     According to reports, the shooting began when “CHOP security” opened fire on a

25   white Jeep that had crashed into the CHOP barricades. Reports indicate that over a dozen shots

26   were fired. Police and fire did not respond to the scene until the victims had been transported by


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 1   private vehicle and the crime scene had been compromised and cleared of evidence.

 2           53.     The City did not provide emergency medical services at the scene of the shooting

 3   in the CHOP area. Instead, one of the victims was transported by private vehicle out of the CHOP

 4   area and to a hospital. The other had to be taken “to a meeting point with Seattle Fire Department

 5   Personnel, who then transported the victim to Harborview Medical Center.”

 6           54.     By the time the police reached the scene of the shooting at 12th and Pike to begin

 7   an investigation, much of the key evidence had already been tampered with or lost. As the SPD

 8   blotter put it, when police arrived on the scene to inspect the Jeep, “it was clear the crime scene

 9   had been disturbed.”

10           55.     Over the course of nine days, there were two homicides in CHOP. There had been

11   no homicides in Capitol Hill in 2020 before CHOP started, and in all of 2019 there were only three

12   homicides in the entire Capitol Hill neighborhood.

13           56.     An academic study conducted in 2021 regarding crime in and near CHOP

14   confirmed a direct, causal correlation between the City’s police policies in June 2020 and a sharp

15   increase in crime in CHOP and the surrounding neighborhood.

16           57.     During June 2020, the Seattle Fire Department (“SFD”) also had its own “red

17   zone,” where it would not enter the area in and around CHOP without police first securing the
18   area. In practical terms, this meant that there were no paramedic services available for anything

19   other than “mass casualty events” in and around CHOP, and that even in those cases the SFD often

20   did not show up at all because the SPD failed to secure the scene.

21           58.     It became public knowledge soon after the adoption of the police and fire zones that

22   police and medics would not respond. This emboldened and attracted criminal elements and made

23   it significantly less likely that victims would bother to call police.

24           59.     The SPD’s lack of response to Cal Anderson Park and the area around Plaintiff’s

25   location continued after CHOP as well. SPD officers informed other business owners in the area

26   that they were under instructions not to enter Cal Anderson Park for any reason, even months after

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 1   CHOP, and even though it was known that individuals who had committed crimes in the

 2   neighborhood were residing in the park.

 3          60.     And when officers did respond to some calls for assistance in the vicinity of

 4   Plaintiff’s location after July 1, 2020, the response was late and inadequate. This included, for

 5   example, responding after thirty minutes to a call about an individual who had pointed a gun at

 6   numerous people, and confiscating the gun but not arresting the assailant. There were also times

 7   when the police never responded to calls for assistance, despite the fact that Plaintiff is located

 8   only a couple blocks from the East Precinct. In September 2020, for example, a manager at a

 9   nearby business reported a large fight with numerous participants near the building, but the police

10   never responded.

11                  2.     Impeded access to Plaintiff’s business.

12          61.     The streets and sidewalks directly adjacent to Molly Moon’s and in the nearby area

13   were constantly impeded during CHOP—as well as on occasion during the subsequent occupation

14   of Cal Anderson Park—by CHOP participants, subsequent park occupants, and the City itself.

15          62.     CHOP participants regularly moved makeshift barriers, large objects, and barriers

16   provided by the City to CHOP wherever they wished to block traffic, sidewalks, and all other

17   manner of ingress and egress. This almost always included both Eleventh Avenue and Olive Street.
18   Molly Moon’s is located on Pine St. between Broadway and 10th Ave.

19          63.     In many cases, this meant that Plaintiff’s suppliers, and customers could not safely

20   access Plaintiff’s business or simply avoided the area entirely. On June 20, 2020, Molly Moon’s

21   had to close its Capitol Hill shop for the day due to fears of more violence following the first

22   homicide in CHOP. Similarly, Molly Moon’s also closed its shop on July 1 and July 4, 2020, due

23   to safety concerns caused by CHOP.

24          64.     The barriers and their impact on Plaintiff were magnified by the City’s decision to

25   turn the corner of Eleventh and Olive into the epicenter of its public-sanitation support of CHOP.

26          65.     Although the dumpsters and at least some of the portable toilets were removed in

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 1   July 2020, a portion of Cal Anderson Park near Molly Moon’s retained its reputation as the

 2   preferred occupation area of the park to set up residency for the remainder of 2020 as a direct result

 3   of the City’s designation of the corner as an area to provide services to the occupiers. This included

 4   the park occupiers continuing to use Eleventh and Olive throughout 2020 as a place to dump piles

 5   of trash, knowing the City would come and collect it, which it continued to do.

 6                  3.      Impact on Plaintiff.

 7          66.     The impact on Plaintiff’s business was immense. While Plaintiff’s business had

 8   been impacted by COVID, Plaintiff’s Capitol Hill location suffered a greater impact to its customer

 9   base due to the reputational damage caused by CHOP.

10          67.     Because of the conditions created by CHOP, in June 2020 and subsequently,

11   Plaintiff’s customers and its suppliers were deterred from coming to Molly Moon’s. Molly Moon’s

12   Capitol Hill location suffered significantly decreased revenue and profits as a direct result of the

13   City’s actions and policies.

14          68.     Access to Plaintiffs’ business was impeded or impaired by the City’s actions,

15   CHOP, and CHOP participants in at least the following ways:

16          a.      On multiple occasions in June 2020, Plaintiffs’ suppliers could not access the

17          business or determined it was unsafe to do so because of CHOP and its aftermath.
18          b.      On multiple occasions in June 2020 and later, delivery services from Molly Moon’s

19          Capitol Hill shop to other Molly Moon’s locations were disrupted because it was unsafe to

20          do because of CHOP and its aftermath, resulting in lost orders and business.

21          c.      On multiple occasions in June 2020 and later, customers could not or did not access

22          Plaintiffs’ business because of the conditions created by CHOP and its aftermath. Several

23          regular customers indicated that they were moving out of Capitol Hill due to the

24          unrestrained turmoil caused by CHOP.

25          69.     Molly Moon’s was forced to close entirely on June 20, July 1 and July, 2020, and

26   to close early on other days later in 2020 because of unsafe conditions caused by CHOP and later

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 1   occupations of Cal Anderson Park.

 2          70.     Molly Moon’s was forced to board up its windows during CHOP to prevent them

 3   from being damaged by protesters. Many other area businesses suffered serious damage to their

 4   windows due to the protesters’ actions.

 5          71.     The City was specifically aware of the harm caused to Plaintiff and its business.

 6   Other businesses complained directly to City officials about the disruption to the neighborhood

 7   that was being caused by CHOP.

 8          72.     Molly Moon’s operates several ice cream shops in the greater Seattle area, and

 9   while all of them were affected somewhat by Covid-19, Molly Moon’s Capitol Hill Shop’s profits

10   declined at a rate more rapid than the average of other comparable locations.

11          73.     Molly Moon’s has filed a tort claim with the City.

12          D.      The City Actively Supported and Encouraged CHOP and CHOP
                    Participants
13

14          74.     In the face of all this destruction, City leaders, including Mayor Durkan, embraced

15   the existence, message, and methods of CHOP and CHOP Participants. They did this with physical

16   support and extensive verbal support and encouragement that expressly endorsed the barricading

17   and occupation of City streets and parks.
18          75.     Since the day that the City abandoned the East Precinct, the City had full knowledge

19   of the problems created for businesses and residents in and around CHOP, including property

20   damage, lack of police response, the inability for workers and residents to enter and leave the area,

21   the inability for businesses to receive deliveries, and other adverse impacts on residents,

22   businesses, and property owners in the area. This knowledge was based on complaints from people

23   such as Plaintiff, as discussed above, and direct observation of the area by City officials. This

24   included several visits to CHOP by Mayor Durkan and her chief of staff, as well as the daily

25   presence during June 2020 of Chief Scoggins, then–Seattle Public Utilities head Mami Hara, then-

26   director of the Seattle Department of Transportation Zimbabwe, and Seattle Parks Department

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 1   official Joey Furuto. These individuals reported back to the Mayor and the Mayor’s office about

 2   what they had observed.

 3          76.       The City nevertheless adopted a policy supporting the CHOP occupation, acting

 4   with deliberate indifference toward those suffering harm from it. Evidence of the City’s knowledge

 5   includes the following:

 6                    a.     At a June 11, 2020 press conference with Mayor Durkan, Chief Best made

 7          it clear that the City was fully aware that its 9-1-1 response times had tripled and that there

 8          was a serious public-safety crisis for anyone who lives or works in CHOP.

 9                    b.     On June 16, 2020, the City stated, via a press release from the Mayor’s

10          office:

11                    Beginning last Tuesday, City officials have been on site on Capitol
12                    Hill to work [to] meet community needs including
                      hygiene, sanitation and safety. Utilities including Puget Sound
13                    Energy and SPU have been able to respond to the area for service.
                      Seattle Police Chief Carmen Best has visited the site multiple
14                    times. Over the past week, conversations continued between City
                      officials, organizers onsite for the CHOP, residents and businesses.
15
                      . . . Every day, Seattle Fire Chief Harold Scoggins, Seattle
16                    Department of Transportation Director Sam Zimbabwe, and Seattle
                      Public Utilities General Manager Mami Hara have been on site. On
17                    Sunday, they held a meeting with onsite organizers, small
                      businesses, and residents to discuss proposed changes to the protest
18                    zone.
19                    c.     Mayor Durkan and the SPD were inundated with complaints about CHOP
20          that describe in detail the extensive property damage, restricted access, and economic loss
21          that residents, businesses, and property owners were suffering.
22                    d.     In response to at least some requests from desperate businesses and
23          residents for her to cease her support of CHOP, Mayor Durkan’s office provided a stock
24          response acknowledging that the City was “maintaining” a space for CHOP, including by,
25          for example, providing a “sturdier concrete barrier” to help CHOP block a public street.
26          The stock response stated in part as follows:

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 1
                  Thank you for reaching out.
 2

 3                The Capitol Hill Organized Protest has emerged as a gathering
                  place where community members can demand change of their
 4                local, state, and federal government. Capitol Hill and Cal
                  Anderson Park have long been a gathering place for justice. While
 5                there have been inaccurate and misleading depictions of the CHOP
                  from the President and some national media, the City believes first
 6                amendment activities can continue while also maintaining public
 7                safety and allowing access for residents and businesses who
                  operate in the area. Mayor Durkan believes these changes can help
 8                ensure any focus of the CHOP and Cal Anderson will allow for
                  peaceful demonstrations to continue.
 9
                  Beginning last Tuesday, City officials have been on site on Capitol
10
                  Hill to work [to] meet community needs including hygiene,
11                sanitation and safety. Utilities including Puget Sound Energy and
                  SPU have been able to respond to the area for service. Seattle
12                Police Chief Carmen Best has visited the site multiple times. Over
                  the past week, conversations continued between City officials,
13                organizers onsite for the CHOP, residents and businesses. The
                  City is committed to maintaining space for community to come
14
                  together, protest and exercise their first amendment rights. Minor
15                changes to the protest zone will implement safer and sturdier
                  barriers to protect individuals in this area, allow traffic to move
16                throughout the Capitol Hill neighborhood, ease access for
                  residents of apartment building in the surrounding areas, and help
17                local businesses manage deliveries and logistics. Additionally all
                  plans have been crafted with the goal of allowing access for
18
                  emergency personnel including fire trucks.
19
                  Every day, Seattle Fire Chief Harold Scoggins, Seattle
20                Department of Transportation Director Sam Zimbabwe, and
                  Seattle Public Utilities General Manager Mami Hara have been on
21                site. On Sunday, they held a meeting with onsite organizers, small
22                businesses, and residents to discuss proposed changes to the
                  protest zone. In coordination with protesters onsite, work began at
23                6:30 a.m. on Tuesday to remove a tent barrier at 10th and Pine and
                  replace it with a sturdier concrete barrier to improve public safety.
24                The City has successfully worked with protesters onsite to
                  reconfigure the CHOP to allow for public safety and better access
25                for the local community. That has involved rerouting traffic,
26                freeing up alley access, opened streets, and replacing makeshift


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 1                        barriers with heavy concrete barriers that can be painted.
 2                   e.        Mayor Durkan herself personally visited CHOP and saw what was
 3            happening. In an interview given in her City offices on Facebook Live on June 12, 2020,
 4            Mayor Durkan made clear that she had seen the barriers and talked to CHOP participants
 5            and apparently approved of them using an individual with behavioral health issues to
 6            enforce the perimeter: “It’s interesting, when I was at the CHAZ, walking around, similar
 7            kind of philosophy, because there’s this one guy, some behavioral health issues, and it was
 8            like, look, he has some hard times, and he helps on that barricade over there, and then when
 9            he starts having a hard time, we just bring him over here, take care of him, feed him. And
10            that’s what you gotta do, right?”3
11                   f.        On June 22, 2020, Mayor Durkan stated at a press conference:
12
                     Over the days, tens of thousands of people have peacefully gathered
13                   or visited Capitol Hill. During the day, there have been no major
                     incidents. But we know it is very different at night, particularly in
14                   recent nights. The cumulative impacts of the gatherings and protests
15                   and the nighttime atmosphere and violence has led to increasingly
                     difficult circumstances for our businesses and residents. Most of
16                   them supported protesters’ right to gather at the outset. They stand
                     with them in solidarity. But the impacts have increased, and the
17                   safety has decreased. Both on Saturday morning and last night there
                     were incidents of gun violence. And that escalating violence
18                   concerns me, Chief Best, residents, businesses, and the greater
19                   community. All of Capitol Hill has been impacted.
                     g.        At the same June 22, 2020 press conference, Chief Best stated that reports
20

21   3
       https://www.facebook.com/WWConverge/videos/250593506242797/?__tn__=kC-
22   R&eid=ARBT9Zl4Zd0BnqFUyG1bgaapWeIo6meLrp9YI7QgilK36tLAFfNcpij4zHFTEwP0wNzoVQK7O1LPtpa8
     &hc_ref=ARTeZJ-
     MVhRABE0ZxnSxzApxaoAJVsmqCzhgB7vaP0wwkcuhf0CtwXnjqpvqfAIKLQk&__xts__[0]=68.ARDhXBScmD
23
     _P9GnI4X2NL4z0eUgRkuV8hj_BUWpBgtqxg133nAdZz00w2pqmYlrfVrVanpZgUlgy2rw9hbGAwTWLjcxp1fAP
     AVjYhDHpvEOpeSmJavdPNPPlK_wodfv_idPwOeVfsbgsB04YjUKfXfnUZvddSThmUspA_o5oqETWWFluP2o_
24   Yh-
     tP64swtkdKoXl374Vd0zqTxRoapQChSzCt5dXToGlW6ESVGiUVQznk42YXs8U2lpzAwJmp99RXyrNW3fSYzU
25   cPopUKTNN-
     KP7EBDNdje9UibYcP84111ipRk31bjIk5XrSRcU2rjmqzsd_KjoOwrpoHYKssQd5Vnwe6OvBXCSGW_4ctaQKX
26   mwUcmaTA


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 1        to the police demonstrate that some CHOP participants are “engaging in shootings, a rape,

 2        assaults, burglary, arson, and property destruction, and I have their police reports right here.

 3        I’m not making it up. These things have happened.”

 4                h.      At a press conference on June 29, 2020, the morning after yet another fatal

 5        shooting in the CHOP area, Chief Best repeatedly emphasized how dangerous the situation

 6        was within CHOP, stating:

 7                [I]t’s very unfortunate that we have yet another murder in this area
 8                identified as the CHOP. Two African American men dead at a place
                  where they claim to be working for Black Lives Matter. But they’re
 9                gone. They’re dead now. And we’ve had multiple other incidents –
                  assaults, rape, robbery, and shootings. And so, you know, this is
10                something that is going to need to change. We’re asking people to
                  remove themselves from this area for the safety of the people. If they
11
                  care about people, they’re gonna have to try to help us to make it
12                safe. Not opposed to anybody’s issue or concern. They certainly can
                  demonstrate, you know, and peacefully any place, but they can’t
13                hostilely take over a neighborhood and cause the crime levels to go
                  up like this. Two men are dead. Two men are dead. And a child, a
14                14-year-old, is hospitalized and we don’t know what is gonna
                  happen to that kid.
15

16                ….

17                You know, at this point, the East Precinct, while important to us,
                  what’s much more important is that this neighborhood is not under
18                siege and that there are not people being victimized. You know, the
                  precinct is a building. The precinct is a building. But people dying,
19
                  rapes, robbery, assault – that is what we need to deal with. That’s
20                what we need to deal with.

21                ….
22                I have said this multiple times, it is taking us three and a half times
23                longer to get here. We have a fire station that is less than two blocks
                  from here, they cannot go into this area. We have had so many issues
24                and problems. And, you know, I have the police reports, people have
                  identified as victims . . . we need to make sure that we are able to
25                provide public safety. That is what needs to happen.
26

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 1               ….
 2               As an African American woman, with uncles and brothers and stuff,
 3               I wouldn’t want them to be in this area. We’ve had two men killed.
                 And we have a child that’s injured from gunfire. So this is a real
 4               problem. And I would question why we would continue to allow this
                 to happen.
 5
                 ….
 6

 7               I think everybody in city government has been talking about what
                 we can do to have a reasonable response, that limits any issue or
 8               danger, but we also recognize that a place where we have seen now
                 two murders, multiple people injured, there needs to be some more
 9               action for public safety. I think everybody can agree on that.
10
                 ….
11
                 [T]his situation as you reporters are walking around, you can see
12               that it can be dangerous and unacceptable, and so we’re gonna have
                 to work through this. This is not safe for anybody. Not anybody.
13               Multiple cases. Two murders. And it’s not right. So, thank you for
                 your time. I think there will be other times we will get a chance to
14
                 talk and go over it. But, as you can see, this is not an acceptable
15               situation. Thank you.

16               i.      At one point during this same press conference, in response to a question
17        about whether the City-provided barriers had saved lives by preventing a Jeep from
18        entering the CHOP area, Chief Best responded:
19
                 Yeah, I don’t agree. I absolutely do not agree with that. I think that
20               is absolutely ludicrous. I’m not gonna let the detractors and the
                 naysayers and the agitators be the ones who are the voice here. There
21               are people who live here, there are multiple people who are being
                 injured and hurt, and we need to do something about it. It is
22               absolutely irresponsible for this to continue.
23
                 j.      On July 1, 2020, Chief Best stated in a press conference, “This order and
24
          our police response comes after weeks of violence in and around the Capitol Hill Occupied
25
          Protest zone, including multiple shootings resulting in many injuries and two deaths. . . .
26

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 1          Our job is to support peaceful demonstrations. But what has happened here on these streets

 2          over the last two weeks – few weeks, that is – is lawless and it’s brutal and bottom line it

 3          is simply unacceptable.”

 4                  k.     The City adopted its police Red Zone and its fire department red zone, and

 5          directed other employees to avoid CHOP and Cal Anderson Park out of a concern for the

 6          safety of its employees, but left Plaintiff and others to fend for themselves in the area it

 7          deemed too dangerous for its workforce.

 8          77.     The extent of the City’s knowledge of what was going on in CHOP is demonstrated

 9   by the following from Mayor Durkan’s emergency order that went into effect on July 1, 2020:

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 1             78.     Despite having knowledge of exactly what was happening at CHOP by being there

 2   every day and in regular contact with area residents and business owners, including Plaintiff, the

 3   City acted with deliberate indifference toward the safety and property interests of Plaintiff and

 4   those other residents and businesses. Evidence of that deliberate indifference includes the

 5   following:

 6                     a.     The City deliberately and actively chose to preserve and facilitate the

 7             occupation, through the various means described throughout this complaint, at the expense

 8             of individuals living and working in the neighborhood, including Plaintiff.

 9                     b.     The City kept its own employees out of the area as much as possible, fearing

10             for their safety, but left individuals who lived and worked in the neighborhood, including

11             Plaintiff, to fend for themselves with no police response.

12             79.     The City also enabled the blocking of ingress and egress for businesses and

13   residents in the area, without providing Plaintiff any notice of this deprivation or opportunity to be

14   heard on the matter. The City reached an informal agreement with CHOP participants to provide

15   dozens of concrete barriers to allow limited one-way access on Eleventh and Twelfth Avenues

16   starting on June 16, 2020 (Plaintiff was not invited to participate in these negotiations, and the

17   agreement for limited access failed when CHOP participants moved barriers to block streets that
18   were supposed to be open). The City also declared the streets and sidewalks adjacent to Plaintiff’s

19   business as a site for collection of garbage and human waste, without providing Plaintiff notice or

20   an opportunity to comment.

21             80.     At the same time the City acted with deliberate indifference to Plaintiff and other

22   property owners and people who live and work in or near CHOP, the City physically aided,

23   endorsed, and actively encouraged CHOP participants to continue their occupation of public

24   spaces.

25             81.     The City physically aided CHOP participants in their occupation of the area in at

26   least the following ways:

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 1                      a.     When the City abandoned the East Precinct on June 8, 2020, it left behind

 2           the barriers that had previously blocked street access and protected the East Precinct from

 3           protesters. These barriers foreseeably served as the raw materials that allowed CHOP

 4           participants to block streets and create CHOP within a very short time.

 5                      b.     On June 16, 2020, the City provided even more concrete barriers to CHOP

 6           participants so that CHOP participants could replace wooden barriers and fortify their

 7           blockages of streets.

 8                      c.     The City provided portable toilets and wash stations for CHOP participants.

 9                      d.     The City provided medical equipment, including beds, people movers, and

10           other supplies, to the CHOP “medical tent.”

11                      e.     The City provided nighttime lighting at Cal Anderson Park.

12                      f.     The City allowed people encamped in Cal Anderson Park to use the hose

13           bibb for private use.

14                      g.     The City placed speed bumps around the area along with “local access”

15           signs designed to keep people from visiting the area, and even went so far as to tell internet

16           map companies that they should route people seeking online directions to drive out of their

17           way to avoid the area.
18                      h.     The City provided garbage service to groups occupying the area and Cal

19           Anderson Park both during and after CHOP.

20           82.        The City provided this physical assistance to CHOP despite being aware that doing

21   so would likely encourage and allow CHOP to exist and persist longer than it would have without

22   that assistance.

23           83.        As the City admitted in Mayor Durkan’s July 1, 2020 emergency order, the City

24   “facilitated” CHOP by:

25                      *      Providing basic hygiene, water, litter, and garbage removal.

26                      *      Temporarily allowing obstructions of public parks, streets, and sidewalks.

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 1                       *         Modifying SPD and SFD response protocols. . . .

 2                       *         Modifying streets and pedestrian access routes.

 3                       *         Providing social services outreach and engagement. . . .

 4                       *         Facilitating modified city services delivery to local residents and businesses

 5                                 impacted by events in this area.

 6              84.      The City’s policies effectively authorized the actions of the CHOP participants. The

 7   City communicated clearly to CHOP participants that they could indefinitely continue occupying

 8   the streets in the area, maintaining their barricades, and blocking traffic, all without interference

 9   from the City. The City communicated that message in at least the following ways:

10                       a.        On June 11, 2020, during a joint press conference with the Chief of Police,

11              Mayor Durkan stated: “There’s not a specific date . . . because we are trying to do things

12              that are responsible.”

13                       b.        On June 12, 2020, in response to a direct question from CNN’s Chris

14              Cuomo about how long the City would allow CHOP participants to continue to occupy the

15              neighborhood, Mayor Durkan responded, “I don’t know. We could have the Summer of

16              Love.”

17                       c.        On June 16, 2020, the City announced through an official statement from
18              Mayor Durkan that it had negotiated with CHOP participants to adjust some but not all of

19              their barriers to allow one-way traffic on Twelfth Avenue.4 This agreement was an

20              endorsement of CHOP participants’ other barriers and its overall occupation of the

21              neighborhood.

22                       d.        In announcing the supposed opening of a one-way corridor, the City made

23              clear in a statement from the Mayor that it was an active participant in maintaining and

24              solidifying CHOP barriers and boundaries:

25

26   4
         https://durkan.seattle.gov/2020/06/city-of-seattle-responds-to-the-capitol-hill-organized-protest/


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 1                         The City is committed to maintaining space for community to come
                           together, protest and exercise their first amendment rights. Minor
 2                         changes to the protest zone will implement safer and sturdier
 3                         barriers to protect individuals in this area, allow traffic to move
                           throughout the Capitol Hill neighborhood, ease access for residents
 4                         of apartment building in the surrounding areas, and help local
                           businesses manage deliveries and logistics. [emphasis added]5
 5

 6                       e.        Also on June 16, 2020, Mayor Durkan indicated that the City agreed that

 7              police officers will only enter the occupied area for “significant life-safety issues.”6

 8                       f.        On June 22, 2020, Mayor Durkan and Chief Best held a joint press

 9              conference in which they expressed concern about the impacts of CHOP but also indicated

10              at that time there was no specific timeline or plan for lessening those impacts or removing

11              the blockades, barriers, and tents from CHOP.

12              85.      The City also made numerous statements indicating that it endorsed and would

13   continue to support what CHOP participants were doing in the area, thereby ensuring the continued

14   and indefinite occupation and blockading of the neighborhood, and all the damage it had caused

15   and will cause. The City’s statements include at least the following:

16                       a.        On June 11, 2020, Mayor Durkan posted the following on her Twitter page:

17              “The Capitol Hill Autonomous Zone #CHAZ is not a lawless wasteland of anarchist

18              insurrection – it is a peaceful expression of our community’s collective grief and their

19              desire to build a better world.”

20                       b.        On June 11, 2020, Mayor Durkan also posted on her Twitter page: “For the

21              thousands of individuals who have been on Capitol Hill, I think you’ve seen what I’ve

22              seen: the painting of Black Lives Matter along Pine Street, food trucks, spaghetti potlucks,

23              teach-ins, and movies.”

24                       c.        On June 11, 2020, Mayor Durkan stated during a joint press conference with

25
     5
         https://durkan.seattle.gov/2020/06/city-of-seattle-responds-to-the-capitol-hill-organized-protest/
26   6
         https://durkan.seattle.gov/2020/06/city-of-seattle-responds-to-the-capitol-hill-organized-protest/


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 1        the Chief of Police:

 2                  Lawfully gathering and expressing first Amendment rights, and
 3                  demanding we do better as a society, and providing true equity for
                    communities of color, is not terrorism. It is patriotism. The right to
 4                  challenge government and authority is fundamental to who we are
                    as Americans. . . . And for the thousands of individuals who’ve been
 5                  on Capitol Hill, many of them, what you’ll see is a painting of Black
                    Lives Matter along Pine Street. Food trucks, spaghetti potlucks,
 6
                    teach-ins, movies, free granola bars . . . .
 7
                    d.     During the same press conference on June 11, 2020, Mayor Durkan also
 8
          stated:
 9

10                  The Capitol Hill area—in fact, some of my family is up there right
                    now— . . . it is not an armed ANTIFA militia no-go zone. It is, a
11                  number of people are there, we’ve had ongoing communications
                    with them, with the businesses, with the residents, and we will make
12                  sure that we find some way for people to continue to protest
13                  peacefully while also getting ingress and egress. We’ve had blocks
                    of Seattle in Capitol Hill shut down every summer for everything
14                  from Block Party to Pride. This is not really that much of an
                    operational challenge. But we want to make sure that the businesses
15                  and residents feel safe and we’ll continue to move that forward.
16                  e.     During her Facebook Live interview, Mayor Durkan also stated, “I was up

17        there today, walking around, talking to people, and I think we just have to continue to listen
18        to people and figure out a way that there’s still a way for people to have that kind of free

19        expression, but we need to open up the streets, too, at least 12th so we can get fire through,

20        and like that, so we’re going to keep talking to people and listening to them. But I heard a

21        lot of great ideas and I heard a lot of community strength there. That was cool.”

22                  f.     Also on June 12, 2020, during her interview with CNN’s Chris Cuomo,

23        Mayor Durkan said, “We’ve got four blocks in Seattle that . . . is more like a block party

24        atmosphere. It’s not an armed takeover. It’s not a military junta. We will – we will make

25        sure that we can restore this. But we have block parties and the like in this part of Seattle

26        all the time. It’s known for that.”

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 1                  g.     On June 12, 2020, Mayor Durkan endorsed the gardens being planted in Cal

 2          Anderson Park on Twitter: “Earlier today I visited the #CHAZ and met Marcus Henderson,

 3          the person behind the new community garden popping up in Cal Anderson Park. Read

 4          more about Marcus and the work that’s gone into creating the gardens:

 5          thestanger.com/slog/2020/06/1.”

 6                  h.     Mayor Durkan also tweeted on June 12, 2020: “For as long as I can

 7          remember, Capitol Hill has been autonomous – it’s been a place where people go to express

 8          themselves freely. Today at the #CHAZ, I spoke with organizers and community about

 9          how we can move forward and keep our communities safe, together.”

10                  i.     Mayor Durkan tweeted on June 16, 2020: “The #CHOP has emerged as a

11          gathering place for community to demand change of their local, state, and federal

12          government.”

13                  j.     On June 19, 2020, Mayor Durkan officially declared that there was no

14          longer a state of emergency in the City because “demonstrations since that day have

15          been and continue be largely peaceful.”

16                  k.     On June 21, 2020, after two people were shot in CHOP and one of them

17          died, Mayor Durkan issued a statement indicating that the City still had no plans to cease
18          supporting CHOP and that the City was instead acting to work with and preserve CHOP.

19          86.     The City officially ended CHOP on July 1, 2020, by clearing CHOP of barricades

20   and encampments. However, as explained above, the City’s earlier assistance and endorsement of

21   CHOP and CHOP participants continued to cause harm to Plaintiff that would not have occurred

22   absent the City’s actions. This included:

23                  a.     The reoccupation of Cal Anderson Park after July 1, 2020, and the

24          continued failure by the City to properly address the violence, crime, vandalism, and

25          overall danger created by that reoccupation prior to December 16, 2020.

26                  b.     Continued nightly and daily, unpermitted protests and blocking of streets

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 1          throughout the last half of 2020 as a result of the City having created the perception that

 2          protests and blocked access would be allowed in the neighborhood that had housed CHOP.

 3          Police often did not respond to or attempt to stop crime associated with these protests.

 4                  c.        Erection of a bunker that completely enveloped the sidewalks around the

 5          East Precinct, confirming to the public that the City considered the neighborhood to be

 6          unsafe, and furthering the reputation for unrest and decreased safety that had already been

 7          created by the City’s actions with regard to CHOP.

 8          87.     The Ninth Circuit has recently condemned the City’s actions in creating and

 9   perpetuating CHOP:

10                       It is self-evident that the SPD's wholesale abandonment of its East
                         Precinct, combined with Mayor Durkan's promotion of CHOP's
11
                         supposedly festival-like atmosphere, would create a toxic brew of
12                       criminality that would endanger City residents. In particular,
                         Sinclair's allegations that ‘City Council Member Kshama Sawant
13                       publicly and recklessly framed CHOP as a ‘peaceful’ occupation
                         even after it became violent,’ and that Police Chief Carmen Best
14                       wondered aloud after a second homicide in CHOP ‘why we could
15                       continue to allow this to happen,’ all support the inference that
                         City officials knowingly exposed the public to a danger against
16                       which the officials did almost nothing to protect against. Freedom
                         to assemble and to speak are constitutionally protected; violence
17                       is not. . . .
18                       Here, the alleged dangers in CHOP were of unchecked
19                       lawlessness and rampant crime affecting everyone. Those dangers
                         on this record clearly reflect the City's shocking contempt towards
20                       its promise to citizens that ‘[t]here shall be maintained adequate
                         police protection in each district of the City.’ Seattle, Wash., City
21                       Charter art. VI, § 1. Likewise, individual city officials openly
                         flouted their oath to ‘support ... the Charter and ordinances of The
22                       City of Seattle.’ Id. at art. XIX, § 4. . . .
23
                         The City's conduct here [i.e., in CHOP] was egregious.
24   Sinclair v. City of Seattle, 61 F.4th 674, 681, 684 (9th Cir. March 1, 2023).
25

26

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 1                                      V.       CLAIMS FOR RELIEF

 2                    FIRST CAUSE OF ACTION – SUBSTANTIVE DUE PROCESS

 3                                                42 U.S.C. § 1983

 4                                           U.S. Const. Amend. XIV § 1

 5             88.     Plaintiff incorporates all other allegations in this complaint as if set forth fully

 6   herein.

 7             89.     Plaintiff has a right pursuant to substantive due process to be protected from state-

 8   created dangers.

 9             90.     The City’s actions, assistance, endorsements, and encouragements of CHOP and

10   CHOP participants greatly increased the likelihood of property damage, loss of business revenue,

11   loss of use of property, and other damage to Plaintiff. This subjected Plaintiff to harm that it would

12   not have suffered absent the City’s actions.

13             91.     The City knew, by virtue of communications it had received from Plaintiff in and

14   after June 2020, that Plaintiff was suffering particularized harm caused by CHOP and its aftermath.

15   The City knew that if it did not change its approach to CHOP and its aftermath, that Plaintiff would

16   continue to suffer particularized harm.

17             92.     All damages suffered by Plaintiff were foreseeable, known, and obvious. Numerous
18   officials at the City foresaw that its actions would increase crime and harm to businesses in the

19   area. The City also knew of the harm that was being suffered by Plaintiff specifically and did not

20   change its actions despite the fact it was foreseeable that absent change, that harm would continue.

21   It was also foreseeable that the City’s actions with regard to CHOP would continue to reverberate

22   throughout the neighborhood and for Plaintiff after CHOP was disbanded, especially with any

23   unchecked reoccupation of Cal Anderson Park. This was, moreover, all objectively foreseeable.

24             93.     The City acted with deliberate indifference to the known and obvious harm that

25   would be suffered by Plaintiff. The City knew that if it did not change its approach to CHOP and

26   its aftermath, that Plaintiff would continue to suffer particularized harm but the City chose to delay

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 1   clearing out CHOP from Cal Anderson Park and the surrounding area, and then chose to not clear

 2   out the reoccupation of that park, directly across the street from Plaintiff, until December 2020.

 3          94.      The City did so pursuant to City policy as created and ratified by City policymakers,

 4   including Mayor Durkan.

 5                              SECOND CAUSE OF ACTION – TAKING

 6                                             42 U.S.C. § 1983

 7                                        U.S. Const. Amends. V, XIV

 8          95.      Plaintiff incorporates all other allegations in this complaint.

 9          96.      Plaintiff has constitutionally protected property rights to use and enjoy its property,

10   to exclude others from its property, and to access its property via public rights-of-way.

11          97.      The City deprived Plaintiff of those rights by affirmatively creating, assisting,

12   endorsing, and encouraging an indefinite, unpermitted invasion, occupation, and blockade of the

13   public rights-of-way that provide access to Plaintiff’s business location, as well as by affirmatively

14   creating, assisting, endorsing, and encouraging the physical invasion of Plaintiff’s property by

15   CHOP participants.

16          98.      The City’s actions impeded or impaired access to Plaintiff’s business by customers,

17   employees, and suppliers.
18          99.      The City also committed a per se takings by creating a government-authorized

19   invasion of Plaintiff’s leasehold.

20          100.     The City did so pursuant to City policy as created and ratified by City policymakers,

21   including Mayor Durkan.

22          101.     Plaintiff has not received compensation for the deprivation of its property rights.

23          102.     The City’s actions constitute an unlawful taking for private use and/or an unlawful

24   taking for public use without just compensation, which has caused Plaintiff economic harm,

25   including through a loss of business revenue.

26

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 1                                       VI.      JURY DEMAND

 2          Plaintiff demands a trial by jury.

 3                                   VII.      PRAYER FOR RELIEF

 4          WHEREFORE, Plaintiff requests the following relief:

 5          A.      Judgment in favor of Plaintiff and against Defendant for actual damages in an

 6   amount to be proven at trial;

 7          B.      Prejudgment interest at the maximum rate allowed by law;

 8          C.      Plaintiff’s costs of investigation, costs of suit, and reasonable attorneys’ fees; and

 9          D.      All such other and further monetary, injunctive, and declaratory relief as the Court

10   may deem just and proper.

11          DATED this 7th day of June, 2023.

12                                               MORGAN, LEWIS & BOCKIUS LLP
13
                                                 By/s Angelo J. Calfo
14                                               Angelo J. Calfo, WSBA #27079

15                                               By/s Patricia A. Eakes
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16
                                                 By/s Tyler S. Weaver
17                                                  Tyler S. Weaver, WSBA #29413
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